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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                      MIAMI DIVISION

                       CASE NO.: 10- 20763-GRAHAM/GOODMAN

  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  HENRY DE JESUS LOPEZ LONDONO,

        Defendant.
  ___________________________________/

                             “CORRECTED”
                 DEFENDANT HENRY DE JESUS LOPEZ LONDON’S
                        SENTENCING MEMORANDUM

  I. BACKGROUND and PERSONAL HISTORY OF HENRY LOPEZ LONDONO

         Henry de Jesus Lopez Londono was born in Medellín, Colombia in 1971 and is

  currently 48 years old. He has been together with his wife Doris Lopez Valencia for

  approximately 15 years and they have been married for seven years. He is the father of

  five children, three of them minors ages 6, 12 and 15 years old. He grew up in a family of

  eight children (of which one died a victim of violence at age 17) and at the age of four he

  lost his father in a work related accident. Due to the death of his father, Henry had to drop

  out of high school at the age of 14 to work in order to help his mother support his family.

  After that he worked for a contractor for the Coca-Cola company for several years.

         Since 1996, he was active in the Social Pastoral of the Roman Catholic Apostolic

  Church of Medellin, an organization that together with the Municipal Administration of


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  that city, brought about the Mediation Project which helped resolve conflicts between

  organized criminal gangs. It was within the framework of his participation in this Project,

  that the United Self-Defense Groups of Colombia (hereinafter, AUC) began to follow

  Henry’s activities and recruited him to be part of the Political Wing of the organization.

  He was never part of the military ranks.

         On August 28, 2005, Henry demobilized in the framework of the Peace Process

  between the National Government of Colombia and the United Self-Defense Groups of

  Colombia. After his demobilization in 2005, Henry began a process of reincorporation

  into civil life. The Reintegration Programs were designed and directed by the Colombian

  Government, the Organization of American States (hereinafter, OAS) and some public

  and private institutions. The Programs provided job training. Subsequently, Henry

  created two Non-Governmental Organizations: SEEDS OF PEACE AND COLOMBIA

  and GREEN PRODUCTION. The first focused on the individual monitoring of the

  demobilized, to ensure the successful reintegration of the latter into civilian life. The

  second’s objective was to train former combatants for reinsertion in the workplace and

  reparation to the victims of the conflict. The dynamics of these NGOs led Henry to work

  jointly with regional authorities, private companies, educational institutions, the media

  and the community in general, which led to the creation of a Working Table with the

  purpose of recomposing the moral and social fabric. Thus, the Working Table

  BUILDING the FUTURE OF REGION was inaugurated, with Henry as its Director. The

  official seat of the Working Table was the seat of the Council of the Municipality and the




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  activities were endorsed by the National Government of Colombia and by the OAS

  through its delegates in Colombia.

         After denouncing unlawful acts of official corruption (involving acts of corruption

  by the DIJIN related to narco-trafficking while Gen. Naranjo was its director), the

  members of the Working Table experienced harassment, attacks and extrajudicial

  political persecution by the Colombian National Police, which led to an extraordinary

  meeting between the regional authorities, the members of the Working Table and the

  High Commissioner for Reintegration, Dr. Frank Pearl. In this meeting, the

  corresponding complaints were exposed. But the denunciations caused the opposite effect

  and the political persecution increased. Henry made the decision to flee his country with

  his wife and two year old son because the situation had become so dire and people in his

  close working circle had been kidnapped and had disappeared (while in CNP custody).

  Thus, in mid-2007, when Henry arrived in Argentina in a grave situation, feeling

  persecuted and unfamiliar with the environment, the collection and presentation of his

  evidence for asylum was delayed. After several months of working together with lawyers

  Nino Arena and Pablo Vimo, on April 18, 2008, Henry presented his formal Request for

  Political Asylum before the Refugee Eligibility Committee (hereinafter Ce.Pa.Re), in

  Buenos Aires, Argentina. The Request for Political Asylum was assigned No.

  599238/2008. See Exhibit A, Excerpts from Report of Henry Lopez Londono’s Asylum

  Petition in Argentina and English Translation.

         Since arriving in up Argentina until April 2008, Henry had gone to Ce.Pa.Re.

  various times to find out the requirements for the initiation of the procedure. It was at the


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  official headquarters of Ce.Pa.Re, where he met again with Carlos Mario García Avila, a

  former member of the AUC.

         Towards the middle of 2008, Carlos Mario García Avila told Henry about his

  relationship with a person named Roberto Luna, who identified himself as a member of a

  U.S. law enforcement agency. Luna and Garcia Avila communicated by email under the

  name of Manuel Garrido (see Government’s Fourth Discovery Response).

         This person expressed to Carlos Mario Avila the interest of the authorities of the

  Department of the Treasury of the United States of America, to offer Henry asylum in

  exchange for intelligence information on Colombian criminal groups. In August 2008,

  Henry officially consulted with Ce.Pa.Re, to determine if the possible cooperation with

  American law enforcement/security agencies could hinder his asylum process. Finally,

  Ce.Pa.Re issued Resolution 515/2008 recognizing the founded fear of persecution to

  Henry and his family, but only granted asylum to the wife and minor child because of

  Henry’s past affiliation with the AUC (this “well founded fear” was based on persecution

  by the DIJIN, DEA BOGOTA, PCN and that they used criminal case 59397 as “an

  instrument of persecution”. This was confirmed in Order 599238/2008).

         Although Henry appealed the asylum exclusion decision (and therefore maintained

  the "status of refugee claimant" until the day of his extradition to the U.S.), in late 2008,

  Henry delegated to a Colombian lawyer (Eduardo Lopera) and an American-Argentine

  lawyer (Aldo Spicacci), the task of verifying whether the proposal made by Roberto Luna

  was an official proposal of the Department of the Treasury of the United States. Eduardo

  Lopera coordinating with Roberto Luna, sent Aldo Spicacci from Argentina to the United


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  States of America to corroborate this proposal. Spicacci met with S/A Santiago Aquino

  (in January 2009), a member of IRS agency, who confirmed in that meeting their

  relationship with Roberto Luna on behalf of the United States Department of the

  Treasury. He corroborated the proposal as an official proposal. Aldo Spicacci returned to

  Argentina and confirmed to Henry the veracity and officiality of the proposal, delivering

  as proof of the meeting, an institutional card of the Department of the Treasury, with

  Santiago Aquino's contact information. At the risk of deportation from Argentina, Henry

  accepted the proposal to infiltrate criminal gangs by Roberto Luna on behalf of the

  Treasury Department of the United States of America.

           Since the year 2005 Colombian criminal case 59.397 was processed and

  continued against Henry and more than 40 co-defendants. This case was based on an

  investigation of the DEA SIU Bogota Unit and DIJIN-PNC. The indictment charged drug

  trafficking, conspiracy to commit a crime, and the formation of criminal gangs. Henry

  was acquitted of all charges in Colombia in 2010.

  II. GUIDELINE CALCULATION

           A. Specific Offense Characteristic Increases Are Not Applicable

           The Based Offense Level is correctly calculated at a level 38. However, as

  detailed in his Objections to the PSIR and Motion for Downward Variance, Henry Lopez

  Londono should not receive the following three increases for specific offense

  characteristics: 2D1.1(b)(1) for use of a firearm; 2D1.1(b)(2) for use of violence; and

  2D1.1(b)(3) for use of an aircraft because they do not apply and they were not proven at

  trial.


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         Once a defendant objects to a fact contained in the PSIR at sentencing, the

  Government bears the burden of proving that disputed fact by a preponderance of the

  evidence. United States v. Rodriguez, 398 F.3d 1291, 1296 (11th Cir. 2005); see also

  United States v. Martinez, 584 F.3d 1022, 1027 (11th Cir. 2009) ("It is by now

  abundantly clear that once a defendant objects to a fact contained in the PSIR, the

  government bears the burden of proving that disputed fact by a preponderance of the

  evidence."). This Court has explained that "the preponderance standard is not toothless. It

  is the district court's duty to ensure that the Government carries this burden by presenting

  reliable and specific evidence." United States v. Bernardine, 73 F.3d 1078, 1080 (11th

  Cir. 1996). The preponderance of evidence is a "relaxed evidentiary standard, however, it

  does not grant the court a license to sentence a defendant in the absence of sufficient

  evidence when that defendant has properly objected to a factual conclusion." Rodriguez,

  398 F.3d at 1296.

         B. Role Enhancement is Not Applicable

         As detailed in his Objections to the PSIR and his Motion for Variance, Henry

  Lopez Londono should not receive a 4 level enhancement pursuant to § 3B1.2 in this

  case. There should be neither an aggravating nor a mitigating role adjustment should be

  applied in this case.

         C. Adjustment for Obstruction of Justice is Not Applicable

         As detailed in his Objections to the PSIR and his Motion for Variance, he should

  not receive a 2 level enhancement pursuant to §3C1.1.




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         D. Specialty Doctrine Bars These Enhancements

         As the Defendant’s Post Verdict Motion for Judgement of Acquittal Motion

  Pursuant to Rule 29 and for Arrest of Judgement Pursuant to Rule 34 details, the alleged

  acts of violence and use of a firearm adduced at trial from cooperating informants are not

  only separate substantive uncharged crimes, but also sentencing enhancers which were

  not presented or authorized for extradition. The only crime permissible in Henry Lopez

  Londono’s extradition was conspiracy to distribute 5 kilograms of cocaine.

         Although the defense recognizes that the 11th Circuit has held that a sentencing

  court can normally consider other conduct for which the defendant was not extradited to

  enhance a sentence without violating the Rule of Specialty as stated in United States v.

  Garcia, 208 F.3d 1258 (11th Cir. 2000) vacated and remanded for reconsideration by

  Garcia v. United States, 531 U.S. 1062, 121 S. Ct. 750, 148 L. Ed. 2d 653 (2001), and

  affirmed by United States v. Garcia, 251 F.3d 160 (11th Cir. 2001)(“The short answer is

  that defendant was not punished for crimes other than those for which he was extradited

  because under our law, the consideration of other conduct in the sentencing process is

  legally and conceptually a part of the punishment for the inducted crimes and within the

  limits set for those crimes.”). This 11th Circuit precedent should not apply in this case

  because the drug conspiracy upon which Henry Lopez Londono was extradited was a

  merely a façade presented to the Grand Jury and the Country of Argentina to proceed to

  trial based upon completely different substantive charges (violence, firearms, etc.. ) under

  an all-encompassing “ over-arching conspiracy” in order to bootstrap these

  unsubstantiated, uncharged, other crimes into evidence. The reason it was a façade was


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  because the Government was aware that Henry Lopez Londono was authorized to

  conspire with drug traffickers (the entire basis of the Indictment) and knew this

  conspiracy alone could not stand under the public authority defense. Because of this

  knowledge and trial strategy the Government violates the Rule of Specialty by now trying

  to enhance the sentence with “other conduct” which they intentionally did not bring to

  Argentina in the extradition process. This is not the situation contemplated in Garcia and

  at this time should be barred by the doctrine of specialty.1

          E. The Correct Total Offense Level Calculation Should be a Level 38

          As detailed in his Objections to the PSIR, his Motion for Variance and above, the

  Total Offense Level should be a Level 38 with a corresponding sentencing guideline

  range of 235-293 months (19.5 -24.4 years) in prison.

  III. REQUEST FOR SPECIFIC DEPARTURES

          A. Departure for Pretrial Confinement Pursuant to U.S.S.G. § 5K2.0

          Many courts have recognized and applied a Downward Departure pursuant to

  U.S.S.G. § 5K2.0 for harsh and severe conditions spent in pretrial or presentence

  confinement. See U.S. v. Carty, 264 F.3d 191 (2d Cir. 2001) (finding that defendant’s

  pre-sentence confinement in Dominican Republic where conditions were bad may be a

  permissible basis for downward departure). The Court in Carty stated, “The Sentencing

  Commission has not categorically proscribed consideration of this factor, and we cannot

  say that conditions of pre-sentence confinement may not be so severe as to take a

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   Pursuant to Art. 36 of the Law of International Penal Cooperation 24767 “The extradited person may not be
  charged, persecuted or molested, without previous authorization by Argentina, for prior bad acts different from
  the elements of the crime over which extradition was granted”.


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  particular case “outside the heartland of the applicable Guideline.” According to the

  Sentencing Guideline Manual, a sentencing court may depart if the court finds “that there

  exists an aggravating or mitigating circumstance of a kind, or to a degree, not adequately

  taken into consideration by the Sentencing Commission in formulating the guidelines.”

  U.S.S.G. § 5K2.0 (quoting 18 U.S.C. 3553 (b)). No evidence exists to show that the

  Sentencing Commission took the conditions of a pre-sentence detainee's confinement into

  account in creating the Guidelines. Indeed, there is no indication that the Commission

  contemplated that federal pre-sentence detainees would be kept in any detention facilities

  other than federal facilities. See United States v. Francis, 129 F. Supp. 2d 612, 616

  (S.D.N.Y. 2001)(“Accordingly, we hold today that pre-sentence confinement conditions

  may in appropriate cases be a permissible basis for downward departures.”)

         Our own 11th Circuit Court of Appeals first recognizes this departure in U.S. v.

  Pressley, 345 F.3d 1205 (11th Cir. 2003) (where the defendant spent six years in

  presentence confinement, including 5 years in 23-hour a day lockdown and where he had

  not been outside in 5 years, district court erred in holding that departure not available)

  and stated, “Conditions of confinement could provide a basis for departure, since this

  factor was apparently not taken into account by the Sentencing Commission and could be

  unusual enough to take a case out of the heartland of the applicable guideline.”

         As explained in his Motion for Downward Variance, Henry Lopez Londono was

  subject to inhumane conditions of imprisonment in Argentina awaiting extradition for

  four years. See Exhibit B, Affidavit of Maria Gabriela Ricagno, paragraph 13 detailing




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   the conditions of Lopez at Ezeiza prison in Argentina and Exhibit C, Affidavit of Daniel

   Bladimiro Fedel2 at paragraph 13.

             The uncontroverted evidence of the unusually inhumane conditions that Lopez

   specifically suffered for such a long period of years takes this particular situation out of

   the “heartland” of cases and warrants (not only the day for day credit for the time he

   already served) but additional credit by way of a separate downward departure for

   pretrial confinement.

   IV. REQUEST FOR DOWNARD VARIANCE

             As detailed in his Motion for Downward Variance, this Court should vary

   downward from the guideline range pursuant to Title 18 U.S.C. Section 3553(a) because

   the PSIR guideline is inherently unreasonable, excessive and would result in a sentencing

   disparity that would not account for the substantial assistance he provided before his

   arrest.

   V. THE RULE OF SPECIALTY PREVENTS THIS COURT FROM
      SENTENCING HENRY LOPEZ LONDONO TO A LEVEL 43 GUIDELINE
      SENTENCE OF LIFE

             A. Doctrine of Specialty

             The doctrine of specialty generally provides that a criminal defendant extradited

   from one country to another may be tried only for the offenses for which he or she has


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     Fully executed and notarized copies of these two Affidavit, Exhibits B and C, and a certified
   English translation will be filed under a separate notice of filing prior to sentencing. These
   affidavit addresses the following topics: the conditions of Henry Lopez Londono’s incarceration
   in Argentina awaiting extradition; the doctrine of specialty, the limitations of Lopez’ extradition
   and punishment permissible pursuant to the extradition, the hierarchy of law in Argentina and
   international norms; the residency of Lopez in 2007 and 2008.

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   been surrendered. The doctrine is explicitly memorialized in most, if not all, U.S.

   extradition treaties.

          The United States Supreme Court’s 1886 decision in United States v. Rauscher,

   119 U.S. 407 (1886), recognizes a criminal defendant’s standing to assert a challenge

   under the doctrine of specialty. Rauscher stands for the principle that a defendant

   extradited to the United States has standing to invoke the doctrine of specialty, even in

   the absence of a protest by the surrendering government.

          The 11th Circuit follows Rauscher. Although the federal circuits have been divided

   on whether an extradited defendant has a right to enforce an agreement between the

   surrendering nation and the United States, in the 11th Circuit the defendant has the right to

   contest a breach of such an agreement. In United States v. Puentes, 50 F.3d 1567 (11th

   Cir. 1995), the Court stated, “We hold that a criminal defendant has standing to allege a

   violation of the principle of specialty. We limit, however, the defendant's challenges

   under the principle of specialty to only those objections that the rendering country might

   have brought.” Id. at 1572 “An individual extradited pursuant to an extradition treaty has

   standing under the doctrine of specialty to raise any objections which the requested

   nation might have asserted.” Id. at 1575.

          B. The Doctrine of Specialty Applies at Sentencing

          In addition to limiting the charges on which an extradited defendant may be

   prosecuted, an extension of the doctrine of specialty has been applied to give effect to

   conditions on extradition imposed with regard to sentencing. See United States v.

   Cuevas, 496 F.3d 256, 262 (2d Cir. 2007) (court recognized that the “rule of specialty has


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   application in the sentencing context as well”). Such conditions can include, for example,

   that the United States not sentence the defendant to death or to life in prison. Sometimes

   the sentencing condition is asserted unilaterally by the surrendering government; at other

   times there is an agreement between the United States and the surrendering government,

   set forth in diplomatic correspondence, concerning the sentence. See United States v.

   Stokes, 726 F.3d 880, 889 (7th Cir. 2013).

         C. Extradition Documents, Communications and International Consequences
            Must Be Analyzed

         In order to determine the terms and agreements of extradition between the two

   nations, courts have analyzed the surrounding documents and the international impacts of

   a sentencing decision. In United States v. Campbell, 300 F.3d 202 (2d Cir. 2002), the

   Court looked to the Extradition Decree from the surrendering nation and subsequent

   Consular clarifications of the language “not be sentenced to serve a term of imprisonment

   greater than 50 years”. The Judge sentenced the defendant to 155 years and ordered him

   released after serving 50 which complied with the extradition agreement. Id.

         Courts will look not only to the extradition order, but also to the diplomatic

   communications between the countries when determining the sentencing terms of

   extradition. See United States v. Baez, 349 F.3d 90 (2d Cir. 2003) (Court analyzed

   diplomatic notes to determine that the assurances contained therein were followed).

   Although the sentence was affirmed because it was not technically in violation of the

   wording of the agreement, the Second Circuit was critical of the district court’s apparent




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   view that it was free to ignore the consequences of an extradition agreement. Id. at 93.

   The court observed:

                 [W]e disagree with the manner in which the District Court
                 construed the Diplomatic Note at issue. The Court
                 erroneously suggested that it could ignore the consequences
                 of an extradition agreement between Colombia and the
                 United States because the Judiciary is a branch of our
                 tripartite government independent of the Executive branch.
                 The Judiciary is unquestionably independent of the
                 Executive. However, the cauldron of circumstances in which
                 extradition agreements are born implicate the foreign
                 relations of the United States. Id.

   Specifically, in a sentencing context, the U.S. Courts are mindful of international

   obligation, comity and far reaching implications. “After all, if the United States wishes to

   protect its own citizens from bait-and-switch prosecutions when they are extradited for

   trial in a foreign nation, so too must it honor the same limitation in the reciprocal

   situation.” United States v. Day, 700 F.3d 713 (4th Cir. 2012). The doctrine of specialty

   “is based on principles of international comity: to protect its own citizens in prosecutions

   abroad, the United States guarantees that it will honor limitations placed on prosecutions

   in the United States.” United States v. Andonian, 29 F.3d 1432 (9th Cir. 1994).

                 In sentencing a defendant extradited to this country in
                 accordance with a diplomatic agreement between the
                 Executive branch and the extraditing nation, a district court
                 delicately must balance its discretionary sentencing decision
                 with the principles of international comity in which the rule
                 of specialty sounds. Courts should accord deferential
                 consideration to the limitations imposed by an extraditing
                 nation in an effort to protect United States citizens in
                 prosecutions abroad. Andonian, 29 F.3d at 1435. Moreover,
                 in evaluating the exact limitations set by the extraditing
                 nation, courts should not elevate legalistic formalism over



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                  substance. To do otherwise would strip comity of its meaning.
                  Baez at 91.

          D. Analysis of the Limitation on Extradition in Henry Lopez Londono’s Case

          Similarly, this Court must look to and interpret the Extradition Treaty between the

   United States and Argentina, the Extradition Hearing and Order from the Argentinian

   Court and the diplomatic communications between the countries. See Exhibit D,

   Diplomatic Notes.

          The Presentence Investigation Report indicates the guideline range in this case is a

   level 43 which is life in prison. However, pursuant to this specific extradition agreement,

   Lopez may not be sentenced to life and accordingly, should be sentenced to a term of

   imprisonment, taking into consideration his age, which would permit his release during

   his natural life.

          The treaty between the United States and Argentina lays out the doctrine of

   specialty in Article 16, “A person extradited under this Treaty may not be detained, tried,

   or punished in the Requesting State except for: (a) the offense for which extradition was

   granted or a differently denominated or less serious offense based on the same facts on

   which extradition was granted.” See Exhibit E, 1997 Extradition Treaty between

   Argentina and the United States.

          Henry Lopez Londono was also extradited from Argentina on November 17, 2016,

   pursuant to the judicial extradition order signed by Judge Sebastian Roberto Ramos on

   May 19, 2016, after an extradition hearing that set out conditions and limitations on the

   extradition. See Exhibit F, Extradition Order and English Translation.



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            Finding VII of the Extradition Order permits Henry Lopez Londono only to be

   prosecuted for conspiracy to distribute 5 or more kilograms of cocaine. No other crime is

   mentioned in the Extradition order. Id.

            Finding IX of the Extradition Order specifically incorporates and adopts in this

   order compliance with the guarantees indicated by the defense at the evidentiary hearing.

   Id.

            At this evidentiary hearing the defense indicated the following guarantees that

   were made part of this Extradition Order:

                     In the event that the Honorable Judge considers that
                     extradition should proceed, the guarantees provided for in
                     article 66 of the international cooperation law are requested
                     (...)
                     I request that the guarantees of art. 18 of the law of
                     international criminal cooperation, which is not extradited to
                     another state without your authorization. And that the penalty
                     applied in the event that extradition is granted, should be
                     adapted to the "conventional standards" adopted by the
                     Argentine Republic, (...) This is without prejudice to the fact
                     that the defendant has a refugee process in process” Quoted
                     from a Video Excerpt of the Petition Hearing which will be
                     filed conventionally with an English translation under
                     separate filing.

            As explained in Exhibit B, Affidavit of Maria Gabriela Ricagno, the maximum

   period of imprisonment for those sentenced to life is 35 years but in order to be

   constitutional this maximum must take into account the defendant’s age to permit the real

   chance for the defendant to obtain release into society. 3This is based upon conventional

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    The maximum punishment, according to the guarantees that were recognized in the extradition, are defined as
   “conventional guarantees” pursuant to the INTERAMERICAN CONVENTION ON EXTRADITIONS (Caracas, 1981)
   which in pertinent part in Art. 9 states: “ Penal Sentences Excludes: The party states should not accept extradition
   when the requesting state’s crime is punishable by the death penalty, life in prison without possibility of parole, or


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   international standards adopted by Argentina such as the Convention against Torture and

   other Cruel, Inhumane or Degrading Treatment or Punishment which bars a defendant

   from being condemned to die in prison.                  See Id. and Exhibit C, Affidavit of Daniel

   Bladimiro Fedel. Further, the Argentinian law provides that extradition will not be

   permitted where there is reason to believe a person may be subject to a cruel, inhumane

   or degrading sentence, which a life sentence would be under these international treaties

   that Argentina recognizes in their local law. See Exhibit B, Affidavit of Maria Gabriela

   Ricagno and Exhibit C, Affidavit of Daniel Bladimiro Fedel.

           Although, the U.S. Code and the Sentencing Guidelines permit a maximum

   sentence of life imprisonment for the offense which Lopez was convicted, these specific

   guarantees against this type of punishment were incorporated in the judicial order of

   extradition under which Lopez was extradited. Therefore, this Court is prohibited from

   imposing a guideline sentence of life and requires a sentence that will permit Henry

   Lopez Londono to be released in his natural life with time to reenter society and be

   rehabilitated.4

   VI. SENTENCING REQUEST

           In conclusion, Henry Lopez Londono requests this Honorable Court grant the

   above requested departures and variances and consider his sentence in light of the

   assurances that were made to the Country of Argentina to arrive at a sentence of 19.5

   years, which would be a sentence within the guideline range at an offense level 38. At the


   infamous punishments, unless the requesting state by diplomatic note gives it assurances that these punishments
   will not be imposed.”



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   age of 48, this would permit him to be released at the age of 68 years old and then

   returned to Argentina as contemplated by the extradition order. 5

                                                                  Respectfully submitted,

                                                                  By: /s/ Arturo V. Hernández, Esq.
                                                                          Arturo V. Hernandez, Esq.
                                                                          Fla. Bar No. 0324078

                                                                  ARTURO V. HERNÁNDEZ, P.A.
                                                                  Courthouse Center
                                                                  40 N.W. 3rd Street, Suite 200
                                                                  Miami, Florida 33128
                                                                  Telephone: (305) 579-4850
                                                                  Facsimile: (305) 381-6869
                                                                  E-Mail: avhlaw@bellsouth.net



                                       CERTIFICATE OF SERVICE

            Undersigned counsel hereby certifies that a true and correct copy of the foregoing

   Sentencing Memorandum was filed through the Court’s electronic filing system on this

   11th day of June, 2018.

                                                                  Respectfully submitted,

                                                                  By: /s/ Arturo V. Hernandez, Esq.
                                                                          Arturo V. Hernández, Esq.
                                                                          Fla. Bar No. 0324078




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     In recognition of the fact that the Defendant was extradited on the condition of the principle of “family unity”
   and the fact that the Defendant’s family has no ability to visit the Defendant in the United States, the Defendant
   will be requesting pursuant to the Argentine U.S. Prisoner Transfer Treaty that he serve out his sentence in
   Argentina.”


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